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                          EXHIBIT C
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Date              Initials    Name / Invoice Number   Hours Amount       Description
       1/8/2020              Invoice=10920508                           conference.

   12/3/2019         10679 Jennifer L. Berhorst         0.2        82.8 Draft correspondence to client regarding
    1/8/2020                 Invoice=10920508                           recommendations for settlement counter-offer.

   12/3/2019         10679 Jennifer L. Berhorst         0.4       165.6 Prepare for case status conference.
    1/8/2020                 Invoice=10920508

   12/3/2019         10679 Jennifer L. Berhorst          1         414 Research additional claims to be asserted by
    1/8/2020                 Invoice=10920508                          Estate and evaluate potential response to
                                                                       settlement offer.

   12/3/2019         10679 Jennifer L. Berhorst         0.2        82.8 Analyze settlement offer received from Wheatley
    1/8/2020                 Invoice=10920508                           Estate.

   12/3/2019         10679 Jennifer L. Berhorst         0.4       165.6 Appear for case status conference with Court.
    1/8/2020                 Invoice=10920508

   12/3/2019         21524 Sarah R. Holdmeyer           2.9        812 Review and assess settlement demand of the
    1/8/2020                 Invoice=10920508                          Wheatley Estate; research validity of statutory
                                                                       relief asserted by the Wheatey Estate.

   12/3/2019         20974 Gregory J. Sachnik           0.2        116 Assess settlement demand by Estate and impact
    1/8/2020                 Invoice=10920508                          on trial setting.

   12/3/2019          8995 William Perry Brandt         0.3             Multiple emails.
    1/8/2020                 Invoice=10920508           0.3

   12/3/2019          8995 William Perry Brandt         0.1             Review settlement demand.
    1/8/2020                 Invoice=10920508           0.1

   12/3/2019          8995 William Perry Brandt         0.4             Hearing with Court.
    1/8/2020                 Invoice=10920508           0.4

   12/4/2019          8995 William Perry Brandt         0.2             Email correspondence regarding conference and
    1/8/2020                 Invoice=10920508           0.2             settlement.

   12/4/2019         21524 Sarah R. Holdmeyer           0.2          56 Continue reviewing validity of statutory relief
    1/8/2020                 Invoice=10920508                           asserted by the Wheatley Estate.

   12/6/2019         10679 Jennifer L. Berhorst         0.1        41.4 Correspondence with client regarding strategy
    1/8/2020                 Invoice=10920508                           for settlement counteroffer.

  12/13/2019         10679 Jennifer L. Berhorst         0.2        82.8 Analyze motion for leave to amend counterclaim
    1/8/2020                 Invoice=10920508                           and proposed counterclaim received from the
                                                                        Wheatley Estate.

  12/18/2019         10679 Jennifer L. Berhorst         0.5        207 Draft correspondence to opposing counsel
    1/8/2020                 Invoice=10920508                          enclosing settlement counter-offer.

  12/18/2019          8995 William Perry Brandt         0.1             Review emails regarding settlement.
    1/8/2020                 Invoice=10920508           0.1



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Date          Initials  Name / Invoice Number   Hours Amount     Description
  12/27/2019     10679 Jennifer L. Berhorst        0.1     41.4 Correspondence with opposing counsel regarding
     1/8/2020          Invoice=10920508                         status of response to settlement offer.

    1/3/2020    10679 Jennifer L. Berhorst         0.2         98 Analyze settlement correspondence received from
   2/24/2020          Invoice=10927253                            opposing counsel.

    1/6/2020    10679 Jennifer L. Berhorst         0.6        294 Telephone conference with opposing counsel to
   2/24/2020          Invoice=10927253                            discuss settlement offer of Wheatley Estate.set

    1/6/2020     8995 William Perry Brandt         0.3             Review email and comment regarding settlement.
   2/24/2020          Invoice=10927253             0.3

    1/6/2020    21963 William J. Easley            0.5        180 Analyze case law regarding damages for consumer
   2/24/2020          Invoice=10927253                            protection violations in Massachusetts.

    1/7/2020    21963 William J. Easley            1.5        540 Analyze Texas case law to determine legal
   2/24/2020          Invoice=10927253                            standard for determining choice of law.

    1/7/2020    21963 William J. Easley            1.1        396 Draft memorandum regarding legal standard for
   2/24/2020          Invoice=10927253                            determining choice of law.

    1/8/2020    21963 William J. Easley            0.9        324 Analyze case law regarding damages under
   2/24/2020          Invoice=10927253                            consumer protection statutes.

    1/8/2020    21963 William J. Easley            1.6        576 Draft memorandum regarding damages under
   2/24/2020          Invoice=10927253                            consumer protection statutes.

    1/8/2020    10679 Jennifer L. Berhorst         0.2         98 Analyze research in preparation for drafting
   2/24/2020          Invoice=10927253                            updated settlement analysis for client.

    1/9/2020    21963 William J. Easley            0.8        288 Draft revisions to consumer protection
   2/24/2020          Invoice=10927253                            memorandum to incorporate research on possible
                                                                  damages for violations.

   1/10/2020    10679 Jennifer L. Berhorst         0.4        196 Analyze notice of appeal, research deadline for
   2/24/2020          Invoice=10927253                            filing appeal and advise client accordingly.

   1/10/2020    10679 Jennifer L. Berhorst         0.3        147 Analyze Estate's motion for leave to add
   2/24/2020          Invoice=10927253                            additional counterclaim.

   1/10/2020    10679 Jennifer L. Berhorst         0.8        392 Draft correspondence to client outlining advise
   2/24/2020          Invoice=10927253                            for settlement resolution.

   1/13/2020    10679 Jennifer L. Berhorst         0.1         49 Analyze notice of appeal filed by J. Ward.
   2/24/2020          Invoice=10927253

   1/15/2020    10679 Jennifer L. Berhorst         0.1         49 Correspondence with counsel for Wheatley estate
   2/24/2020          Invoice=10927253                            regarding potential mediation.

   1/23/2020    20974 Gregory J. Sachnik           0.2       119.6 Review multiple submissions by opposing counsel
   2/24/2020          Invoice=10927253                             for transcripts for appeal.

   1/27/2020     8995 William Perry Brandt         0.3             Review correspondence and emails.


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Date          Initials    Name / Invoice Number   Hours Amount          Description
    2/24/2020            Invoice=10927253            0.3

    1/27/2020     20974 Gregory J. Sachnik          0.2          119.6 Review written discovery sent to John Hancock.
    2/24/2020            Invoice=10927253

    1/27/2020     21524 Sarah R. Holdmeyer          6.4       2,246.40 Begin drafting opposition to the Wheatley
    2/24/2020            Invoice=10927253                              Estate's motion for leave to amend
                                                                       counterclaims.

    1/27/2020     10679 Jennifer L. Berhorst        0.2             98 Correspondence with opposing counsel regarding
    2/24/2020            Invoice=10927253                              request for mediation.

    1/27/2020     10679 Jennifer L. Berhorst        0.5           245 Analyze additional written discovery requests
    2/24/2020            Invoice=10927253                             received from opposing counsel including
                                                                      30(b)(6) deposition topics.

    1/27/2020     10679 Jennifer L. Berhorst        0.1             49 Correspondence with client regarding settlement
    2/24/2020            Invoice=10927253                              and newly issued discovery.

    1/27/2020     10679 Jennifer L. Berhorst        0.4           196 Strategize regarding response to motion for
    2/24/2020            Invoice=10927253                             leave to amend.

    1/28/2020     10679 Jennifer L. Berhorst        0.3           147 Revise opposition to motion for leave to amend.
    2/24/2020            Invoice=10927253

    1/28/2020     10679 Jennifer L. Berhorst        0.7           343 Strategize regarding filing of offer of
    2/24/2020            Invoice=10927253                             judgment and other settlement strategies.

    1/28/2020     10679 Jennifer L. Berhorst        0.2             98 Correspondence with client regarding offer of
    2/24/2020            Invoice=10927253                              judgment.

    1/28/2020     10679 Jennifer L. Berhorst        0.5           245 Telephone conference with client to discuss
    2/24/2020            Invoice=10927253                             case status and strategy.

    1/28/2020     10679 Jennifer L. Berhorst        0.2             98 Direct work on preparation of motion for
    2/24/2020            Invoice=10927253                              protective order.

    1/28/2020     10679 Jennifer L. Berhorst        0.3           147 Prepare for telephone conference with client
    2/24/2020            Invoice=10927253                             regarding newly issued discovery and
                                                                      settlement.

    1/28/2020     21524 Sarah R. Holdmeyer          0.5          175.5 Review various state statutes regarding
    2/24/2020            Invoice=10927253                              remedies in preparation of drafting offer of
                                                                       judgment.

    1/28/2020     21524 Sarah R. Holdmeyer          1.5          526.5 Discuss and develop strategy in regards to
    2/24/2020            Invoice=10927253                              motion for leave to amend, settlement,
                                                                       mediation, and additional discovery requests;
                                                                       review discovery requests to develop strategy
                                                                       for motion for protective order.

    1/28/2020     21524 Sarah R. Holdmeyer          1.8          631.8 Continue drafting opposition to motion for
    2/24/2020            Invoice=10927253                              leave to amend; draft offer of judgment.


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Date              Initials   Name / Invoice Number         Hours Amount         Description

   1/28/2020          8995 William Perry Brandt              0.5                Teleconference with client.
   2/24/2020                 Invoice=10927253                0.5

   1/29/2020         21524 Sarah R. Holdmeyer                0.3        105.3 Draft proposed order denying the Wheatley
   2/24/2020                 Invoice=10927253                                 Estate's motion for leave to amend
                                                                              counterclaims.

   1/30/2020         21524 Sarah R. Holdmeyer                0.4        140.4 Finalize opposition to motion for leave;
   2/24/2020                 Invoice=10927253                                 finalize offer of judgment.

   1/30/2020         20974 Gregory J. Sachnik                0.2        119.6 Review opposition to motion to amend, agreed
   2/24/2020                 Invoice=10927253                                 order and offer of judgment for compliance with
                                                                              local rules.

   1/30/2020         11546 Guadalupe Rojas-Wiederaenders      1         211.5
   2/24/2020                 Invoice=10927253                                   Finalize revisions to proposed order, response
                                                                                and offer of judgment; preparation of documents
                                                                                for filing; file all documents; retrieve
                                                                                conformed copies and district to all counsel.

   1/31/2020         20974 Gregory J. Sachnik                0.1         59.8 Review communication from opposing counsel
   2/24/2020                 Invoice=10927253                                 regarding application of MA law.

       2/3/2020      10679 Jennifer L. Berhorst              0.1           49 Analyze various pleadings filed with court of
       3/9/2020              Invoice=10933747                                 appeals.

       2/4/2020      20974 Gregory J. Sachnik                0.2        119.6 Review appearance form for 5th Circuit.
       3/9/2020              Invoice=10933747

       2/4/2020      11546 Guadalupe Rojas-Wiederaenders     0.9       190.35
       3/9/2020              Invoice=10933747                                   Draft Entry of Appearance for G. Sachnik;
                                                                                finalize appearance; finalize preparation of
                                                                                documents for submission to court; file,
                                                                                download and upload conformed copy to i-Manage.

       2/5/2020      10679 Jennifer L. Berhorst              0.3         147 Strategize regarding arguments to include in
       3/9/2020              Invoice=10933747                                motion for summary judgment.

       2/6/2020      10679 Jennifer L. Berhorst              0.2           98 Analyze correspondence received from court of
       3/9/2020              Invoice=10933747                                 appeals regarding mediation program.

       2/6/2020      10679 Jennifer L. Berhorst              0.1           49 Draft correspondence to client regarding
       3/9/2020              Invoice=10933747                                 potential for mediation through appeal.

       2/6/2020      10679 Jennifer L. Berhorst              0.1           49 Correspondence with appeal's court clerk
       3/9/2020              Invoice=10933747                                 regarding mediation.

       2/6/2020      20974 Gregory J. Sachnik                0.2        119.6 Assess information regarding circuit required
       3/9/2020              Invoice=10933747                                 mediation and communication from mediator.

       2/6/2020      21524 Sarah R. Holdmeyer                0.4        140.4 Review discovery requests to develop objection
       3/9/2020              Invoice=10933747                                 to discovery.


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Date              Initials   Name / Invoice Number         Hours Amount         Description

       2/7/2020      10679 Jennifer L. Berhorst              0.2           98 Correspondence with counsel for the Wheatley
       3/9/2020              Invoice=10933747                                 Estate regarding participation in mediation and
                                                                              status of choice of law issues.

       2/9/2020      21524 Sarah R. Holdmeyer                0.3        105.3 Continue drafting motion for protective order
       3/9/2020              Invoice=10933747                                 from discovery and deposition.

   2/10/2020         20974 Gregory J. Sachnik                0.3        179.4 Assess reply brief and motion on choice of law
    3/9/2020                 Invoice=10933747                                 issues submitted by the Estate.

   2/10/2020         21524 Sarah R. Holdmeyer                1.7        596.7 Continue drafting protective order.
    3/9/2020                 Invoice=10933747

   2/10/2020         10679 Jennifer L. Berhorst              0.2           98 Analyze reply in support of motion for leave to
    3/9/2020                 Invoice=10933747                                 amend to add additional counterclaims.

   2/12/2020         21524 Sarah R. Holdmeyer                1.7        596.7 Continue drafting motion for protective order.
    3/9/2020                 Invoice=10933747

   2/14/2020         20974 Gregory J. Sachnik                0.1         59.8 Assess need for additional excerpts from
    3/9/2020                 Invoice=10933747                                 transcript for appeal.

   2/14/2020         10679 Jennifer L. Berhorst              1.1         539 Revise motion for protective order regarding
    3/9/2020                 Invoice=10933747                                third discovery requests and corporate
                                                                             deposition notice.

   2/15/2020         21524 Sarah R. Holdmeyer                0.8        280.8 Continue drafting motion for protective order.
    3/9/2020                 Invoice=10933747

   2/17/2020         10679 Jennifer L. Berhorst              0.5         245 Revise motion for protective order.
    3/9/2020                 Invoice=10933747

   2/18/2020         10679 Jennifer L. Berhorst              0.2           98 Correspondence with client regarding details of
    3/9/2020                 Invoice=10933747                                 conference with 5th circuit court of appeals
                                                                              mediator.

   2/18/2020         10679 Jennifer L. Berhorst              0.5         245 Telephone conference with 5th Circuit Court of
    3/9/2020                 Invoice=10933747                                Appeals mediator to discuss potential for
                                                                             mediation and status of appeal.

   2/20/2020         20974 Gregory J. Sachnik                0.2        119.6 Assess summary of appellate mediation and
    3/9/2020                 Invoice=10933747                                 additional transcript orders impacting appeal.

   2/21/2020         10679 Jennifer L. Berhorst              0.1           49 Correspondence with client regarding approval
    3/9/2020                 Invoice=10933747                                 of motion for protective order.

   2/24/2020         11546 Guadalupe Rojas-Wiederaenders     0.5       105.75
    3/9/2020                 Invoice=10933747                                   Receipt and review of ECF notices, download
                                                                                documents, send to docketing if necessary and
                                                                                distribute.

   2/25/2020         11546 Guadalupe Rojas-Wiederaenders     0.8        169.2 Receipt and review of filing for case;


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Date              Initials    Name / Invoice Number        Hours Amount         Description
       3/9/2020              Invoice=10933747                                   preparation of documents for filing.

   2/25/2020         10679 Jennifer L. Berhorst              0.1           49 Correspondence with opposing counsel to meet
    3/9/2020                 Invoice=10933747                                 and confer regarding motion for protective
                                                                              order.

   2/25/2020         20974 Gregory J. Sachnik                0.3        179.4 Review and revise motion for protective order
    3/9/2020                 Invoice=10933747                                 including need for certificate of conference.

   2/25/2020         21524 Sarah R. Holdmeyer                0.3        105.3 Continue drafting motion for protective order.
    3/9/2020                 Invoice=10933747

   2/26/2020         10679 Jennifer L. Berhorst              0.1           49 Correspondence with opposing counsel to request
    3/9/2020                 Invoice=10933747                                 extension on deadline to response to motion for
                                                                              choice of law.

   2/26/2020         10679 Jennifer L. Berhorst              0.1           49 Meet and confer with opposing counsel regarding
    3/9/2020                 Invoice=10933747                                 consent to motion for protective order in
                                                                              accordance with local rules.

   2/27/2020         10679 Jennifer L. Berhorst              0.1           49 Revise order on motion for protective order.
    3/9/2020                 Invoice=10933747

   2/27/2020         10679 Jennifer L. Berhorst              0.2           98 Revise motion for extension of time to respond
    3/9/2020                 Invoice=10933747                                 to motion on choice of law determination.

   2/27/2020         20974 Gregory J. Sachnik                0.3        179.4 Revise certificate of conference and draft
    3/9/2020                 Invoice=10933747                                 order for motion for protective order.

   2/27/2020         11546 Guadalupe Rojas-Wiederaenders     1.2        253.8
    3/9/2020                 Invoice=10933747                                   Draft motion for extension of time to respond
                                                                                to motion for determination of choice of law
                                                                                and proposed order.

   2/27/2020         11546 Guadalupe Rojas-Wiederaenders     1.1       232.65
    3/9/2020                 Invoice=10933747                                   Revise motion for protective order; draft
                                                                                proposed order; preparation of documents for
                                                                                filing; file documents.

   2/28/2020         11546 Guadalupe Rojas-Wiederaenders     0.8        169.2
    3/9/2020                 Invoice=10933747                                   Finalize revisions to motion and order for
                                                                                extension; finalize preparation of documents
                                                                                for submission to court; file with Court and
                                                                                forward conformed copy to J. Berhorst.

    3/3/2020         10679 Jennifer L. Berhorst              0.1           49 Draft correspondence to client requesting
   4/13/2020                 Invoice=10942062                                 position on Estate's request for extension of
                                                                              deadlines and approval to being preparation of
                                                                              summary judgment papers.

    3/4/2020         10679 Jennifer L. Berhorst              0.1           49 Correspondence with client regarding status of
   4/13/2020                 Invoice=10942062                                 mediation.



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Date           Initials  Name / Invoice Number         Hours Amount     Description
    3/5/2020      10679 Jennifer L. Berhorst              0.1       49 Correspondence with opposing counsel regarding
   4/13/2020           Invoice=10942062                                request for extension of scheduling order
                                                                       deadlines.

    3/6/2020     10679 Jennifer L. Berhorst               0.2          98 Analyze motion to revise scheduling order.
   4/13/2020           Invoice=10942062

    3/6/2020     21963 William J. Easley                  1.3       421.2 Draft correspondence to J. L. Berhorst
   4/13/2020           Invoice=10942062                                   regarding the possibility of submitting an
                                                                          offer of settlement and capping damages under
                                                                          Massachusetts law.

    3/6/2020     21963 William J. Easley                  1.2       388.8 Draft correspondence to J. L. Berhorst
   4/13/2020           Invoice=10942062                                   regarding risk of maximum loss if Texas
                                                                          versus Massachusetts case law were applied.

    3/6/2020     21963 William J. Easley                  1.4       453.6 Analyze Massachusetts case law to determine
   4/13/2020           Invoice=10942062                                   risk of loss if Massachusetts law was applied
                                                                          to this case.

    3/6/2020     21963 William J. Easley                  1.2       388.8 Analyze case law regarding consumer protection
   4/13/2020           Invoice=10942062                                   statutes in Texas to prepare response to motion
                                                                          to designate case law.

    3/6/2020     21524 Sarah R. Holdmeyer                 0.3       105.3 Develop strategy in regards to response to
   4/13/2020           Invoice=10942062                                   motion for application of Massachusetts law.

    3/7/2020     21963 William J. Easley                  1.1       356.4 Revise choice of law memorandum to discuss
   4/13/2020           Invoice=10942062                                   whether the Massachusetts demand requirement
                                                                          prior to a consumer protection suit will be
                                                                          applied in Texas federal court.

    3/9/2020     21963 William J. Easley                  0.2        64.8 Outline opposition to motion to designate
   4/13/2020           Invoice=10942062                                   choice of law.

    3/9/2020     11546 Guadalupe Rojas-Wiederaenders      0.3          60
   4/13/2020           Invoice=10942062                                     Receipt and review of ECF notices, download
                                                                            documents, send to docketing if necessary and
                                                                            distribute.

   3/10/2020     10679 Jennifer L. Berhorst               0.4        196 Telephone conference with fifth circuit
   4/13/2020           Invoice=10942062                                  mediator to discuss mediation opportunities.

   3/11/2020     21963 William J. Easley                  1.8       583.2 Draft response to motion to designate
   4/13/2020           Invoice=10942062                                   massachusetts law.

   3/12/2020     10679 Jennifer L. Berhorst               0.2          98 Analyze Wheatley Estate's opposition to motion
   4/13/2020           Invoice=10942062                                   for protective order.

   3/12/2020     10679 Jennifer L. Berhorst               0.3        147 Revise opposition to motion for choice of law
   4/13/2020           Invoice=10942062                                  determination.

   3/13/2020     21524 Sarah R. Holdmeyer                 0.2        70.2 Continue drafting proposed order on the


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Date          Initials    Name / Invoice Number         Hours Amount         Description
    4/13/2020            Invoice=10942062                                   Wheatley Estate's motion regarding choice of
                                                                            law.

    3/13/2020     20974 Gregory J. Sachnik                0.2       119.6 Examine response to motion on choice of law and
    4/13/2020            Invoice=10942062                                 proposed order for compliance with local rules.

    3/13/2020     11546 Guadalupe Rojas-Wiederaenders     0.9        180
    4/13/2020            Invoice=10942062                                   Draft, revise and finalize proposed order
                                                                            denying plaintiff's motion for choice of law;
                                                                            preparation for filing and file with Court.

    3/14/2020     21524 Sarah R. Holdmeyer                0.8       280.8 Begin reviewing opposition to motion for
    4/13/2020            Invoice=10942062                                 protective order filed by the Wheatley Estate
                                                                          in preparation of drafting reply.

    3/16/2020     21524 Sarah R. Holdmeyer                1.1       386.1 Begin drafting reply in support of motion for
    4/13/2020            Invoice=10942062                                 protective order.

    3/17/2020     21524 Sarah R. Holdmeyer                1.3       456.3 Continue drafting reply in support of motion
    4/13/2020            Invoice=10942062                                 for protective order.

    3/17/2020     20974 Gregory J. Sachnik                0.1        59.8 Review communication from court of appeals
    4/13/2020            Invoice=10942062                                 regarding transcripts.

    3/17/2020     11546 Guadalupe Rojas-Wiederaenders     0.2          40
    4/13/2020            Invoice=10942062                                   Retrieve appeal documents, distribute to
                                                                            counsel and send to docketing.

    3/18/2020     21524 Sarah R. Holdmeyer                1.8       631.8 Continue drafting reply in support of motion
    4/13/2020            Invoice=10942062                                 for protective order.

    3/18/2020     20974 Gregory J. Sachnik                0.2       119.6 Revise reply in support of motion to quash.
    4/13/2020            Invoice=10942062

    3/18/2020     10679 Jennifer L. Berhorst              0.3        147 Analyze motion for leave to amend scheduling
    4/13/2020            Invoice=10942062                                order.

    3/18/2020     10679 Jennifer L. Berhorst              0.5        245 Analyze motion for partial summary judgment
    4/13/2020            Invoice=10942062                                filed by Wheatley Estate.

    3/18/2020     10679 Jennifer L. Berhorst              0.1          49 Correspondence with client regarding case
    4/13/2020            Invoice=10942062                                 status.

    3/18/2020     10679 Jennifer L. Berhorst              0.5        245 Revise reply in support of motion for
    4/13/2020            Invoice=10942062                                protective order.

    3/18/2020     10679 Jennifer L. Berhorst              0.6        294 Strategize regarding response to motion for
    4/13/2020            Invoice=10942062                                partial summary judgment.

    3/23/2020      8995 William Perry Brandt              0.2               Email correspondence regarding summary judgment
    4/13/2020            Invoice=10942062                 0.2               motion and motion to amend scheduling.

    3/23/2020      8995 William Perry Brandt              0.9               Review past pleadings for context for summary


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Date          Initials    Name / Invoice Number         Hours Amount           Description
    4/13/2020            Invoice=10942062                  0.9                judgment motion response.

    3/23/2020      8995 William Perry Brandt              0.4                 Review summary judgment motion and motion to
    4/13/2020            Invoice=10942062                 0.4                 amend scheduling.

    3/23/2020     21524 Sarah R. Holdmeyer                2.6         912.6 Draft opposition to motion to amend scheduling
    4/13/2020            Invoice=10942062                                   order.

    3/24/2020     21524 Sarah R. Holdmeyer                0.2           70.2 Review proposed order on opposition to motion
    4/13/2020            Invoice=10942062                                    for leave to amend scheduling order.

    3/24/2020     20974 Gregory J. Sachnik                0.2         119.6 Revise opposition to motion to amend scheduling
    4/13/2020            Invoice=10942062                                   order for compliance with local rules.

    3/24/2020     20974 Gregory J. Sachnik                0.1           59.8 Revised proposed order denying motion to amend
    4/13/2020            Invoice=10942062                                    scheduling order.

    3/24/2020     10679 Jennifer L. Berhorst              0.2            98 Revise opposition to motion to extend
    4/13/2020            Invoice=10942062                                   scheduling order deadlines.

    3/24/2020     11546 Guadalupe Rojas-Wiederaenders     0.5           100
    4/13/2020            Invoice=10942062                                     Draft proposed order denying defendant's motion
                                                                              to modify scheduling order.

    3/25/2020     21524 Sarah R. Holdmeyer                0.2           70.2 Final review of proposed order denying motion
    4/13/2020            Invoice=10942062                                    to amend scheduling order.

    3/26/2020     20974 Gregory J. Sachnik                0.1           59.8 Finalize opposition to motion to amend
    4/13/2020            Invoice=10942062                                    scheduling order for compliance with local
                                                                             rules.

    3/26/2020     11546 Guadalupe Rojas-Wiederaenders     0.9           180
    4/13/2020            Invoice=10942062                                     Finalize response and proposed order (.3);
                                                                              finalize preparation of documents for
                                                                              submission to court (.3); file with Court (.3).

    3/30/2020     20974 Gregory J. Sachnik                0.2         119.6 Review plaintiff's reply brief in support of
    4/13/2020            Invoice=10942062                                   motion to amend scheduling order.

    3/30/2020     21524 Sarah R. Holdmeyer                4.5       1,579.50 Review partial summary judgment motion filed by
    4/13/2020            Invoice=10942062                                    the Wheatley Estate and develop strategy for
                                                                             response; research in preparation of response;
                                                                             begin drafting response.

    3/30/2020     10679 Jennifer L. Berhorst              0.2            98 Strategize regarding opposition to motion for
    4/13/2020            Invoice=10942062                                   summary judgment.

    3/31/2020     10679 Jennifer L. Berhorst              1.2           588 Revise opposition to motion for summary
    4/13/2020            Invoice=10942062                                   judgment.

    3/31/2020     21524 Sarah R. Holdmeyer                2.5         877.5 Continue drafting response to motion for
    4/13/2020            Invoice=10942062                                   summary judgment; review multiple emails with
                                                                            counsel for the Wheatley Estate to attach as


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                                                                                 exhibits to the response.

       4/1/2020      21524 Sarah R. Holdmeyer                0.5         175.5 Continue drafting response to motion for
       5/8/2020              Invoice=10948406                                  summary judgment and draft affidavit in support
                                                                               of response.

       4/2/2020      21524 Sarah R. Holdmeyer                0.2          70.2 Continue drafting declaration of Jennifer
       5/8/2020              Invoice=10948406                                  Berhorst in support of opposition to motion for
                                                                               summary judgment and prepare exhibits to same.

       4/2/2020      20974 Gregory J. Sachnik                0.3         179.4 Assess response to Estate's motion for summary
       5/8/2020              Invoice=10948406                                  judgment with attached declaration and exhibits
                                                                               for compliance with local rules.

       4/2/2020      10679 Jennifer L. Berhorst              0.1            49 Analyze documents filed in appeal by J. Ward.
       5/8/2020              Invoice=10948406

       4/2/2020      10679 Jennifer L. Berhorst              0.4          196 Revise affidavit in support of opposition to
       5/8/2020              Invoice=10948406                                 motion for summary judgment.

       4/3/2020      10679 Jennifer L. Berhorst              0.1            49 Correspondence with client regarding status of
       5/8/2020              Invoice=10948406                                  review of motion for summary judgment.

       4/3/2020      20974 Gregory J. Sachnik                0.4         239.2 Review court and local rules in preparation for
       5/8/2020              Invoice=10948406                                  submission of response on formal submission
                                                                               date for the motion.

       4/3/2020      21524 Sarah R. Holdmeyer                0.2          70.2 Review proposed order denying motion for
       5/8/2020              Invoice=10948406                                  summary judgment.

       4/3/2020      11546 Guadalupe Rojas-Wiederaenders     1.5        317.25
       5/8/2020              Invoice=10948406                                    Finalize opposition and proposed order and file
                                                                                 documents with Court.

       4/6/2020      11546 Guadalupe Rojas-Wiederaenders     0.7        148.05
       5/8/2020              Invoice=10948406                                    File response in opposition to motion for
                                                                                 partial summary judgment with exhibits and
                                                                                 forward same to counsel.

       4/6/2020      20974 Gregory J. Sachnik                0.1          59.8 Finalize response brief for submission.
       5/8/2020              Invoice=10948406

   4/21/2020         10679 Jennifer L. Berhorst              0.2            98 Strategize regarding potential postponement of
    5/8/2020                 Invoice=10948406                                  trial date.

   4/23/2020         10679 Jennifer L. Berhorst              0.1            49 Analyze order setting briefing schedule.
    5/8/2020                 Invoice=10948406

   4/23/2020         10679 Jennifer L. Berhorst              0.1            49 Correspondence with opposing parties regarding
    5/8/2020                 Invoice=10948406                                  status of dismissal of appeal.

   4/23/2020         20974 Gregory J. Sachnik                0.1          59.8 Review multiple minute orders and entries by
    5/8/2020                 Invoice=10948406                                  5th Circuit Court of Appeals.


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   4/23/2020      11546 Guadalupe Rojas-Wiederaenders     0.3          60 Receipt and review of ECF notices and
    5/8/2020              Invoice=10948406                                distribution of same.

   4/24/2020      20974 Gregory J. Sachnik                0.2        119.6 Communicate with opposing counsel regarding
    5/8/2020              Invoice=10948406                                 non-opposition to motion to dismiss appeal
                                                                           without prejudice.

   4/24/2020      10679 Jennifer L. Berhorst              0.1          49 Conference with counsel for J. Ward regarding
    5/8/2020              Invoice=10948406                                dismissal of 5th Circuit appeal.

   4/24/2020      10679 Jennifer L. Berhorst              0.1          49 Analyze motion to dismiss appeal filed by J.
    5/8/2020              Invoice=10948406                                Ward.

   4/24/2020      10679 Jennifer L. Berhorst              0.2          98 Correspondence with client regarding status of
    5/8/2020              Invoice=10948406                                appeal, pending motions and trial date.

   4/27/2020      10679 Jennifer L. Berhorst              0.1          49 Correspondence with counsel for J. Ward
    5/8/2020              Invoice=10948406                                regarding amended motion to dismiss appeal.

   4/27/2020      20974 Gregory J. Sachnik                0.2        119.6 Communicate with opposing counsel regarding
    5/8/2020              Invoice=10948406                                 amended motion to dismiss.

   4/28/2020      20974 Gregory J. Sachnik                0.2        119.6 Review multiple amendments to motion to
    5/8/2020              Invoice=10948406                                 dismiss.

   4/28/2020      11546 Guadalupe Rojas-Wiederaenders     0.5         100
    5/8/2020              Invoice=10948406                                  Receipt and review of new ECF notices and
                                                                            distribute same.

   4/29/2020      20974 Gregory J. Sachnik                0.1         59.8 Review order dismissing appeal without
    5/8/2020              Invoice=10948406                                 prejudice and denying alternative relief of
                                                                           stay.

   5/12/2020       8995 William Perry Brandt              0.3               Email correspondence to and from client.
    6/8/2020              Invoice=10955566                0.3

   5/12/2020       8995 William Perry Brandt              1.4               Review status.
    6/8/2020              Invoice=10955566                1.4

   5/12/2020      21524 Sarah R. Holdmeyer                 1          351 Review various pending motions and develop to
    6/8/2020              Invoice=10955566                                determine settlement and/or trial strategy.

   5/12/2020      10679 Jennifer L. Berhorst              0.2          98 Correspondence with client regarding current
    6/8/2020              Invoice=10955566                                litigation status and prospects for settlement.

   5/13/2020      10679 Jennifer L. Berhorst              0.5         245 Correspondence with opposing counsel to discuss
    6/8/2020              Invoice=10955566                                case status and settlement.

   5/13/2020      10679 Jennifer L. Berhorst              0.4         196 Strategize regarding potential tactics to
    6/8/2020              Invoice=10955566                                achieve final resolution with J. Ward.

   5/13/2020      10679 Jennifer L. Berhorst              0.3         147 Telephone conference with client to discuss


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Date              Initials    Name / Invoice Number   Hours Amount        Description
       6/8/2020              Invoice=10955566                            settlement strategy.

   5/13/2020         10679 Jennifer L. Berhorst         0.1           49 Correspondence with local counsel regarding
    6/8/2020                 Invoice=10955566                            status of Texas federal trials.

   5/13/2020         10679 Jennifer L. Berhorst         0.1           49 Draft email correspondence to opposing counsel
    6/8/2020                 Invoice=10955566                            confirming settlement offer.

   5/13/2020          8995 William Perry Brandt         0.3              Prepare for and participate in teleconference
    6/8/2020                 Invoice=10955566           0.3              with client.

   5/13/2020          8995 William Perry Brandt         0.2              Conference with J. L. Berhorst.
    6/8/2020                 Invoice=10955566           0.2

   5/13/2020         20974 Gregory J. Sachnik           0.2        119.6 Strategize regarding trial setting including
    6/8/2020                 Invoice=10955566                            review of local court advisories regarding
                                                                         COVID issues.

   5/18/2020          8995 William Perry Brandt         0.3              Review email and conference with J. L.
    6/8/2020                 Invoice=10955566           0.3              Berhorst.

   5/18/2020         10679 Jennifer L. Berhorst         0.1           49 Analyze correspondence from opposing counsel
    6/8/2020                 Invoice=10955566                            regarding decline of settlement offer.

   5/18/2020         10679 Jennifer L. Berhorst         0.3         147 Draft correspondence to client advising on
    6/8/2020                 Invoice=10955566                           strategy for resolution of damages issues.

   5/20/2020         10679 Jennifer L. Berhorst         0.2           98 Draft correspondence to court clerk in response
    6/8/2020                 Invoice=10955566                            to inquiry regarding trial.

   5/20/2020         10679 Jennifer L. Berhorst         0.2           98 Telephone conference with client to discuss
    6/8/2020                 Invoice=10955566                            litigation strategy.

   5/20/2020         10679 Jennifer L. Berhorst         0.2           98 Telephone conference with counsel for Whealtey
    6/8/2020                 Invoice=10955566                            Estate to discuss response to court inquiry.

   5/20/2020          8995 William Perry Brandt         0.2              Email correspondence regarding trial setting.
    6/8/2020                 Invoice=10955566           0.2

   5/20/2020          8995 William Perry Brandt         0.3              Teleconference with client.
    6/8/2020                 Invoice=10955566           0.3

   5/21/2020         10679 Jennifer L. Berhorst         0.1           49 Correspondence with client to provide update on
    6/8/2020                 Invoice=10955566                            communication with court.

   5/26/2020         10679 Jennifer L. Berhorst         0.1           49 Correspondence with client regarding order
    6/8/2020                 Invoice=10955566                            denying addition of counterclaim.

   5/26/2020         10679 Jennifer L. Berhorst         0.3         147 Correspondence with client regarding strategy
    6/8/2020                 Invoice=10955566                           for summary judgment hearing.

   5/26/2020         10679 Jennifer L. Berhorst         0.3         147 Analyze Court's order denying motion for leave
    6/8/2020                 Invoice=10955566                           to add counterclaims.


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Date              Initials   Name / Invoice Number   Hours Amount          Description

   5/26/2020          8995 William Perry Brandt        0.3                 Review order and email correspondence regarding
    6/8/2020                 Invoice=10955566          0.3                 same.

   5/26/2020         20974 Gregory J. Sachnik          0.1            59.8 Review court order denying Wheatly's motions to
    6/8/2020                 Invoice=10955566                              amend and reopen discovery.

   5/26/2020         21524 Sarah R. Holdmeyer          0.3          105.3 Review order denying several of the Estate's
    6/8/2020                 Invoice=10955566                             motions.

   5/26/2020          9483 Ann Woeppel                 0.2            47.6 Prepare motion for pro hac admission for W. P.
    6/8/2020                 Invoice=10955566                              Brandt.

   5/27/2020          8995 William Perry Brandt        0.5                 Prepare for hearing.
    6/8/2020                 Invoice=10955566          0.5

   5/27/2020         10679 Jennifer L. Berhorst        3.3        1,617.00 Prepare for hearing on the Wheatley Estate's
    6/8/2020                 Invoice=10955566                              motion for summary judgment including review of
                                                                           all relevant pleadings and preparation of
                                                                           outline.

   5/27/2020         10679 Jennifer L. Berhorst        0.1             49 Correspondence with opposing counsel regarding
    6/8/2020                 Invoice=10955566                             settlement.

   5/27/2020         10679 Jennifer L. Berhorst        0.2             98 Correspond with client regarding approval of
    6/8/2020                 Invoice=10955566                             settlement strategy.

   5/27/2020         10679 Jennifer L. Berhorst        0.4            196 Strategize regarding renewed settlement
    6/8/2020                 Invoice=10955566                             efforts.

   5/28/2020         10679 Jennifer L. Berhorst         1             490 Prepare for and attend hearing on motion for
    6/8/2020                 Invoice=10955566                             partial summary judgment and correspond with
                                                                          client regarding the same.

   5/28/2020          8995 William Perry Brandt        0.5                 Participate in hearing.
    6/8/2020                 Invoice=10955566          0.5

   5/29/2020         10679 Jennifer L. Berhorst        0.2             98 Analyze settlement offer received from opposing
    6/8/2020                 Invoice=10955566                             counsel and correspond with client regarding
                                                                          the same.

       6/2/2020      10679 Jennifer L. Berhorst        0.1             49 Analyze minute entry entered by Court regarding
       7/8/2020              Invoice=10962054                             decision on motion for partial summary
                                                                          judgment.

       6/2/2020       8995 William Perry Brandt        0.2                 Email correspondence regarding settlement.
       7/8/2020              Invoice=10962054          0.2

       6/3/2020      20974 Gregory J. Sachnik          0.1            59.8 Review order on motion for summary judgment.
       7/8/2020              Invoice=10962054

       6/4/2020       8995 William Perry Brandt        0.7                 Prepare for and teleconference with client.
       7/8/2020              Invoice=10962054          0.7


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       6/4/2020      10679 Jennifer L. Berhorst        0.4        196 Telephone conference with client to discuss
       7/8/2020              Invoice=10962054                         response to settlement offer.

       6/5/2020      20974 Gregory J. Sachnik          0.1        59.8 Review minute order canceling bench trial.
       7/8/2020              Invoice=10962054

   6/10/2020         10679 Jennifer L. Berhorst        0.1          49 Correspondence with counsel for the Wetly
    7/8/2020                 Invoice=10962054                          Estate regarding status of provision of
                                                                       attorney bills to analyze settlement offer.

   6/18/2020         10679 Jennifer L. Berhorst        0.1          49 Correspondence with opposing counsel regarding
    7/8/2020                 Invoice=10962054                          extension of time to serve attorneys' fee
                                                                       motion.

   6/19/2020         10679 Jennifer L. Berhorst        0.1          49 Correspondence with counsel for J. Ward
    7/8/2020                 Invoice=10962054                          regarding potential settlement of claims.

   6/19/2020         10679 Jennifer L. Berhorst        0.2          98 Analyze memorandum filed by J. Ward regarding
    7/8/2020                 Invoice=10962054                          finalization of attorneys' fee award prior to
                                                                       appeal.

   6/22/2020         10679 Jennifer L. Berhorst        0.4        196 Telephone conference with counsel for J. Ward
    7/8/2020                 Invoice=10962054                         regarding settlement prospects.

   6/23/2020         10679 Jennifer L. Berhorst        0.1          49 Correspondence with opposing counsel regarding
    7/8/2020                 Invoice=10962054                          revision to minute entry related to dismissal
                                                                       of counterclaims.

   6/24/2020         10679 Jennifer L. Berhorst        0.2          98 Telephone conference with counsel for the
    7/8/2020                 Invoice=10962054                          Wheatly Estate to discuss modification of
                                                                       minute entry related to partial summary
                                                                       judgment.

   6/25/2020         10679 Jennifer L. Berhorst        0.2          98 Analyze Wheatly Estate's motion for
    7/8/2020                 Invoice=10962054                          reconsideration of Court's May 28, 2019 minute
                                                                       entry to determine whether to consent to
                                                                       motion.

   6/25/2020         10679 Jennifer L. Berhorst        0.2          98 Draft correspondence to client regarding
    7/8/2020                 Invoice=10962054                          attorney's fee motion and advise regarding
                                                                       response.

   6/25/2020         10679 Jennifer L. Berhorst         2         980 Calculate reduced attorneys' fee sum through
    7/8/2020                 Invoice=10962054                         detailed analysis of billing statements.

   6/25/2020         10679 Jennifer L. Berhorst        0.4        196 Strategize regarding potential responses to
    7/8/2020                 Invoice=10962054                         motion.

   6/25/2020         10679 Jennifer L. Berhorst        0.5        245 Analyze motion for attorneys fees and
    7/8/2020                 Invoice=10962054                         supporting materials filed by the Wheatly
                                                                      Estate.



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Date          Initials   Name / Invoice Number         Hours Amount           Description
    6/26/2020      8995 William Perry Brandt              0.2                 Email correspondence.
     7/8/2020           Invoice=10962054                  0.2

   6/29/2020     10679 Jennifer L. Berhorst              0.1              49 Follow up with client regarding opposition to
    7/8/2020           Invoice=10962054                                      motion to revise order.

   6/30/2020     10679 Jennifer L. Berhorst              0.5            245 Direct work on preparation of response to
    7/8/2020           Invoice=10962054                                     Wheatly's attorney's fees motion.

   6/30/2020     21524 Sarah R. Holdmeyer                0.5           175.5 Review the Wheatly Estate's motion for attorney
    7/8/2020           Invoice=10962054                                      fees and develop strategy for responding to
                                                                             same.

     7/1/2020    21524 Sarah R. Holdmeyer                5.3        1,860.30 Review cases cited in the Wheatley Estate's
                                                                             brief in support of its request for attorneys'
                                                                             fees (.8); additional research in preparation
                                                                             of drafting opposition to the Wheatley Estate's
                                                                             brief (1.2); begin drafting opposition to the
                                                                             Wheatley Estate's brief (2.9); prepare table of
                                                                             contents and appendix for opposition (.4).

     7/2/2020    10679 Jennifer L. Berhorst              0.6            294 Revise opposition to Wheatley Estate's motion
                                                                            for attorneys fees.

     7/3/2020    20974 Gregory J. Sachnik                0.1            59.8 Strategize for finalizing materials to be
                                                                             submitted to court.

     7/6/2020    20974 Gregory J. Sachnik                0.6           358.8 Review response to Wheatley's claim for fees
                                                                             including revisions to draft order and finalize
                                                                             for submission to court.

     7/6/2020    10679 Jennifer L. Berhorst              0.1              49 Analyze notice of hearing received from court.

     7/6/2020    10679 Jennifer L. Berhorst              0.1              49 Correspondence with client regarding final
                                                                             approval of opposition to Wheatley Estate's
                                                                             motion for attorney fees.

     7/6/2020    11546 Guadalupe Rojas-Wiederaenders     1.8            360
                                                                              Finalize revisions to opposition; finalize
                                                                              appendix and exhibits; draft and finalize
                                                                              order; preparation of documents for submission
                                                                              to court; communication with attorneys
                                                                              forwarding conformed copy.

     7/7/2020    20974 Gregory J. Sachnik                0.2           119.6 Review hearing transcript.

     7/9/2020     8995 William Perry Brandt              0.4                  Prepare for and teleconference hearing with
                                                                              court.

     7/9/2020    10679 Jennifer L. Berhorst              2.5        1,225.00 Prepare for hearing on competing motions for
                                                                             attorneys' fees.

     7/9/2020    10679 Jennifer L. Berhorst              0.5            245 Argue motion for attorneys fees at hearing.


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       7/9/2020      10679 Jennifer L. Berhorst              1.4            686 Create factual timeline of relevant claims
                                                                                documentation in support of opposition to
                                                                                motion for reconsideration of dismissal of
                                                                                counterclaims.

    7/10/2020        10679 Jennifer L. Berhorst              0.6            294 Begin drafting opposing to motion for
                                                                                reconsideration.

    7/10/2020        21524 Sarah R. Holdmeyer                0.2            70.2 Develop strategy to opposing motion for
                                                                                 reconsideration.

    7/13/2020        21524 Sarah R. Holdmeyer                3.7        1,298.70 Research availability of attorneys' fee award
                                                                                 for fees incurred for proceedings beyond
                                                                                 initial interpleader action (1.2); continue
                                                                                 drafting opposition to motion to revise order
                                                                                 (1.8); prepare exhibits for opposition to
                                                                                 motion to review order (.5); review proposed
                                                                                 order denying motion to revise order (.2).

    7/13/2020        20974 Gregory J. Sachnik                0.3           179.4 Review opposition to motion to modify and
                                                                                 exhibits to ensure compliance with local rules.

    7/13/2020        10679 Jennifer L. Berhorst              0.5            245 Begin drafting supplemental affidavit in
                                                                                support of motion for attorneys' fees.

    7/13/2020        10679 Jennifer L. Berhorst              3.5        1,715.00 Complete draft of opposition to motion for
                                                                                 reconsideration of dismissal of statutory
                                                                                 attorneys' fees claim.

    7/13/2020        11546 Guadalupe Rojas-Wiederaenders     1.8            360
                                                                                  Draft, revise and finalize proposed order
                                                                                  regarding opposition to motion for revised
                                                                                  order; preparation of exhibits; finalize
                                                                                  revisions to order and opposition; finalize
                                                                                  preparation of documents for submission to
                                                                                  court.
Total Fees Invoiced from 9/1/2019 to 7/13/2020:                      78206.95
Write-Off By Client:                                                15,000.00
Total Fee Request from 9/1/2019 to 7/13/2020:                       63,206.95




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